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5_§ 66111%” 601!111§€1”

Case 1 :0-8 c-v- -05450411ment0007 01/2008 Page 1 of 3
OLZ.QLOQO # ll913-10 )|-|O/\/\/SO!OAU| 0103 91130 5011dxg u01ss1Luu103
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>1101 M 10 ‘011and AHV10N
/\Nuel$ NQQOH )101N WNH)\/\

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01213 011110 10 1u0111u10/109 301213 p011un 01.1110 001/1100 A121111Lu u1 A11u0$01d se/\A1u01d1001 01111011101.1~\ 01 u0>10ds uos10d p0>1001u0u0d0c1 0/\21<51 121\-/1 11‘111/\1 911

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W 11061011 W .'06v /\€ 0/>1 1a r)10111010100 W101101010100 “P_W_le -'><0$ 1X1
:sM01101se s11uepu01eq 011110 110110<1 u0 01 u0)10ds 10 ‘p0/\105 uos10d 10111010 ‘1uepu010(] 011110 u011d11080p \/ NO11C112199;1C1 9#

 

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0100 0/\1sn10x0 0111100un A.1011sodap 10101110 ue u1 “1211u0p11u0;') pue 1euos10d,, 00)110111 0d010/\u0 passe1ppe A110d01d p1ed1sod ssa|g 101 e u1 1:1
SOBZ' LQVOL AN ‘XNOHS ‘ E\nNEl/\V J_NOV\|B?:|J_ LSVB QZLZ
1a 1uepu010c1 0111011u0wnoop 1102010 Adoo 0n11e 6u111sod0p Aq 001/1100 p0101du1001u0u0d0p ‘ W 03 eunF 110 1d03 '11V1/\19#
Aq 00u1111u00 sse1ppV
12 10 Aep W 0111u0
19 10 Aep ____*°“ 0111u0
10 10 Aep w 0111110

100101,111)01100 6u1/\eL1 ‘u01101os1p pue 060 01qe11ns 10 uos10d 0101u01d1001 pu1101 00u06111p 0np 1111/1/1 ‘01qeun se/v\ 1u0u0c10C1

'01010 001 u1L111M (010001010 00010> HOH 01
asnoq 6u1110/v1p [ ] sseu1an 10 0091d 1en1oe [ ]:s,1u01d1001 s1 110111/1/\ ‘sas1u101d p1es1o1oop 0111011100010 Adoo 0n11e 5u1x111e 1151 9N1X1;1:1V7#

'0101$ 0111u1L111/11\(0p0qe10 aoe1d 1ensn) asnoq 6u1110/v1p [ ] sseu1sr1q 10 0021d 1en100 [ ] :s,1u01d1001 s1 9081Lu01d p1eg

 

 

 

*u01101:)s1p pue 062 01qe11ns 10 uos10d 0 7111102010 Adoo 0n11 e Bu110/\110p 119 1\10321§§ ;19V
EHEIVLIDS S#
'u011e10d100 011110112110q uo 001/110s1d00<>e 01 1002110111ne pue ‘uo11e10d100 011110 03212101_1111\1 11\1;15)\71 01110<1 01
pames os uos10d 0111/1/10u>11u0uod0p ‘A11euos10d 0'1~1;11\19\?’31(10-1 01 110€0 10 Ado:) 0n11e10010111 6u110/\11ep 1151 NO|_LWO(MOOZ;

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uos10d p1es se 000111030p uos10d 01110c1 0100/\10$ uos1001 0111/1/100>1 1u0u0d0p fA11euos1ad 1u01d1001 p1es 01 L102010 Ado:> 0n11e 611110/\1101) 119 'wn<j%§?qm 1#

 

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503 HJ_ll\/\ ‘SVVV\| EIDC|N` E|LVH.LS|E)V|N ‘8 ||| AE!'m\'/d ‘H |/\|V|`|`||l\/\ ElDClnf` :|0 SB`\HH TVDG|A|C|N| ’8 AAVT ;iO OV\E|l/\|'(OH_L) HJ.|/\/\ BSHVO /\AOHS OJ_ HEIGHO '_LN[V`|dl/\|OO ‘9 SNOI/\HNNS

 

 

 

U!Ul!/V\ elll P@NSS WSUOdSP ' BOSZ‘LQVOL AN AXNO}:|E ‘ EIDN§/\V _LNO|/\|E|tll J_SVEl QZLZ 19
‘ u1060:17 12 QOONZ 0un1~ ug '01013 >1101 /1/10N u1 3001301 pue 06010

SJeaA 91 10/10 s1 ‘u101011 A110d e10u s11u0uod0c1 :s)\es pue sasodep u10/1As A1np 6u10q ‘ 11epu913 11er5 ““"
ElO|AHEIS :lO .L|AVC||;I:|V 1'SS ‘>mo)\ mm 10 AanO;) ‘>1>101 mem 10 31\7'13

 

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i'ON 9|!:1 8666"LLO0L AN NHOA /\AE|N t|`l:l C]NZ€ ‘ElnNEl/\V C|H|Hl LVL ZSSQJQPV
9999‘€6Z'ZLZ in cl'|"| `NHV>| ’S’ NV|N:JHV>{ NVV\|:|HV)‘I `S >{t|‘v’l/\| 35/<9“1011\/

 

)lHOA MEIN :IO lOlE:|J.S|G NHEH.LDOS llOldl.LSlCl MHOA MEN :lO A.LNDOO
13490 vn°O .LHDOG _LG|}:|J.S|C] SBLVJ.S ClE|.Lan
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ZSVS A0 80 5# XE|C|N|

Wm SSHJUWNO~A VS 'M/“ 50#6- 150-212 J) -22££-922-212(4 el 01/IN‘/1A1‘I002I'HL-1VM,0 lor-SJS
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1119950 # 01~1 s 10/1103 00000_1§1§,, 1111 1917 0931110 011
>110/\ /'V\SN 10 91 S 01 d AHVLON
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(00) Suowwns 0100101001011100 111101100 se~\ (\1) 2 (1) ‘(0) z 0062: 22011\1 Aq 100110\001 060060€1 001 15100[0:]‘11/\10
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1111011un A121111w ou pu2 30111010 u2111/\1o A12u1p1o 010/111 1u01d10021 1ou s2/11\1u01d100112111 p0u.1101u1 se/v\ pu2 >1101 /1110N 10 1:1

01219 011110101u01uu10/\09 001213 pe11un 011110 001/1100 A1211111.u u1 A11u0001d 02/1/11u01d1001 0111101.11011/1/1 01 u0)10ds uos10d p0)1321u0u0d0c1 3/\219121\111"111/\1 911

'1u01d1001 011101(p010p1101) p1ed 010/111 s0su0dx0 6u110/\21110 / 1002 001 sseu111v1 p02110111n2 0111 3551:1 '11/1/\1#

 

20010100=1101110 _"§01*002“107\0“_:111610/\/\ <@103'1#0111100)
__..9 .9 - ..v .9 21110`1011 _H_'w 0 - 017 :06\1 _**“T/\e)€)/»m :1101110 10100 W. 201>101010100 ‘*0‘01711“_1 :)<00 131
:s/11\0110132 s11u20u010(] 011110112110q uo 01 u0)10ds 10 130/1103 uos10d 10111010 ‘1u2p0010C1 011110 u011d11000p \~/ NO11C11213351C1 g#

 

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121u2pu010c1 0111011001110000 1102010 Ado:) 0n11 2 611111sod010 Aq 001/1105 00101dLu001u0u0d01;1 9003 '03 0un1‘ uO 1d0() ‘11\11/\19#
Aq p01u111u00 sse1ppV
19 10 A2p 0111 uo
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19 10 1120 m_"“ 01111.10

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'01210 0111u11111/1/1(0poq210 00210) HO G OJ_
asnoq 6u1110/1Ap[ ] sseu1an 10 0021d12n102 [ ]:s,1u01d1001 s1 110111/111 ‘sas1u101d p12$10100p 0111011102010 Adoo 0n112 6u1x1112 119 91\11)(1;1:1\»/17#

'01213 0111u1L111/v1(0p0q210 0021d12nsn) esnoq 6u1110/v1p [ ] ssau1an 10 0021d 12n102 [ 1 :s,1u01d1001 s1sas1Lu010| 10123

 

 

 

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'u011210d100 011110112110q u0 001/110310|0002 01 00211011102 pu2 ‘uo1121od10:> 011110 03212101.11nv 1N;19V 0111001 01 Bq
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111010111
u0s10d p1es se p0q11osep uos.10d 01110q 01 00/1103 uosJed 0111/1/10u)11u0u0d0p 5A112uos1ed1u01d1001 p1es 011102010 Ado:> 0n112 6u110/\110p Ag ~1Van(]N1 1111

 

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U!L|l!/V\ 3111 PSNSS mallode ' BOBZ“LQVOL AN ‘XNO}:|H ` E|f'\NB/\V J_NO|NE|HJ. .LSV§ QZLZ 19
‘ 111050:'¢ 12 9003 ‘Oz 0unp uO l01213 >1101 /11\0N 0130101301 pue 06210

3120A 3110/10 s1 ‘u101011 A112d 210u s11u0u0d0(] :sAes pu2 sesod0p u10/v\s A1np 6u1aq ‘ 112pu213 110q021
EO|AHE|S :|0 .L|AVC||=I:|V 1'SS ‘>1>10)1 /11\:~11\1 110 /\11\1000 ‘)1>10/\ AA:»IN 10 211/18

 

(0)1uapuodsaH/(s)1u2pu010(7

S£IDS 1{ V/M /U/V GNVA VA/l S{/INNIA NIS[I 03 ‘OTIE[N£)V SI/]U?
(S))SuO/mQd/(S)guweld SA
DNI SHl VIOOSS V S‘ HOL 300

`~'ON 9|!:| 8666‘LLOOL AN )IHOA /\/\EIN }:|`|:1 GNZ€ lE!|”]NEl/\V C]H|H_L L'VL ¢SSQJPPV
QQQQ‘QGZ'ZLZ in d"|`| lNHV>‘| ’S’ NV|/\l:|f\\?')| N\'/|/\|:lDV)| `S )|HV|/\| :S/<QUJOHV

 

MEIOA MEN :|O lS|H.LS|G NHEHanS :.LO|?:|.LS|C| )|HOA MEN :10 A.LNDOO
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C)AN N1 380 611

'1111011un A121111u1 ou pu2 00111010 u2111/110 A,12u1p1o 010/1111u01d1:>09 '10u 32/1111u01d100112111 pew101u1 02111\ pue )110}1 /1/10N 10
01213 011110101u0u1u10/\05) 301213 pe1_1un 011110 001/1105 A.1211111u u1 A11uese1d s2/v11ue1d_1001 0111 1011101111/1 01 00)1005 uos10d p0)1's2 1ueuod0q 9A991\9V1_1~111/\1 911

'1001d1001 011101(p0100u01) 13120 010/111 sesuadxa 60110/121110 / pu2 001 sseu11/1/1 pez1101.1102 0111 393;1‘11/\/\;#

 

10010100010010 WW' 21 :10010/\/1 191021#01100§~)
W110610H W:e§v /\_0107>100‘1‘21_:11001010100 w000M“:01>101010100 'Wrx00

:s/v10110102 s11u2pu01eq 011110112110<1 uo 01 ua)iods 10 ‘pe/ues uos1ed101110 10 ‘1112p11010c1 011110 uo11d110000 \1 N011c11933;1@ 9#

 

|1‘- |!El/\| 99!1!1190 PUE 1:]|OA 'V\ON 10 91918 9141 U! 90!110 lsod 391913 P@l!Un 314110 Apolsno pu€

 

 

 

 

 

 

 

0120 0/11sn1ox0 011110000 A1011s0000 12101110 02 u1 u1211u0p11uo() pu2 12uos10C1,, 00)112111 00010/\110 100930110102 A11edo1d p12d1sod ss219 181 2 u1 31
8082' LQvOL AN ‘XNOHE ' BGNEI/\V J.NOV\|E|>:LL J_SVEI QZLZ
12 1u21)u010(_'1 0111011u011unoop 1102010 Ado:) 00112 61111100000 Aq 001/1100 pe101d1u00 1uauodep gong 03 01101‘ 110 1903 11VV\19#
Aq pau1111u00 ss01ppv
19 10 1120 *_"_` 0111110
12 10 1120 W 0111u0
19 10 1120 W 0111110

12010111p0112:) 601/1211 ‘uo1101os1p pu2 062 01q211ns 10 uos1ad 2 101u01d1001 pu1101 0011061110 000 L111/1/1‘01qe110 s2/v11110110009

'01010 00101011~\(0000010 00010) 90<§ 01
0s0011 6111110/111p [ ] ss0u1an 10 0:)21d120102 [ ]:s,1u01d1001 s1 110111/1/1‘0031111010| p1es1o1oop 001011102010 Adoo 00112 6u1x1112 119 9N1X1:1:1V17#

'0121$ 0111 u111111v1(0p001210 0021d 120sn) 000011 6u1110Mp [ ] seaman 10 0021d 120102 [ ] :s,1u01d1001 s1 900110010 p123

 

 

 

'u01101:)s1p pu2 062 0101211ns 10 uos10d 2 011102010 Adoo 0011 2 6u110/\1100 A9 Noggl;g]j 519\/
El'VEIVJ_|f`lS €#
'uo1121od1oo 0111101121101:1 uo 001/1100 100002 01 pez11011102 pu2 ‘u011210d100 011110 9321901_1_1(1\1 1_N39V 00100 01 [X]
110/1105 os uosJad 001111\0u)11u0uodap ‘A112110$1ad (T|gNE)V’SmO~\ 7311.102010 Adoo 00112120101116u110/\110p 119 NO|lVHOdHOOa
~u1010111

u0s10d 0120 32 peq11osep uos10d 011100 01 130/1100 uos1ed 0111M0u)11u0u0dep fA112uos1ed 1u01d1001 p1es 01 1102010 Adoo 0011 2 60110/\1101) 119 '1an qN1 1#

 

'001112u u1010111 1u2pu0109 ‘ SHDS }\VM A|N iuo

 

 

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:IOEl HJ_|M lS\'/’Vl/\| E|E)C|nf` ZIJ_VHJ.S\SV|N ’8 ||| AE!`|HVC| `H lNV|"|'|ll\/\ E|E)C|nf` ;IO SEI`|HH 'l\‘/HG|AIGN| ’9 l\A\'/'] :|O O|/\E||N`(OH.L) H,L|I\A EISDVO /\/\OHS Oj. HH(JHO lJ.Nl‘\f'lc||/\IOC) ’? SNOV\k|/\IDS

 

 

 

1111111/111 0111 00/1109 1uauodap ‘ 9083-191701 AN ‘XNOHS ‘ EmNE!/\\-/ J_NOv\lEl>_-u_ J_SVE QZLZ 19
‘ Lu0@0:17 12 9003 ‘Oz 0001~ uO '01213 >1101\ /1/10N 015001001 1002 06210

0120/1 9110/10 s1 ‘u101011 A1.12d 210u s11u0110d0C1 :sAes pu2 sasodap u10/1/\s A10p 6u10c1 ‘ 1121:)u213 11an9 "
EQl/\HES ;|O _Ll/\V(]|;l-_-|V f'SS ‘>DIO/\ AAEIN dO ALNHOC) ‘)I}IOA MHN ;IO EI,J.V.LS

 

(s)¢uapuodseg/(s);u2pu010(_7

SHDS /{ VA/i XI/V GNV/I VA/l S¢XNNIA NIS[)OD ‘O’IYHNSVSI[]O’I

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3`0N 9|!:{ 8666'LLO0L AN >|}:lOA /\AE]N H"|d CINZ€ lE|(\NE/\V GH|Hl L*VL ZSSQJPP§
9999'€62'ZLZ in dTI lNHV>{ ’8’ NVV\|:IDW NVl/\|:||'\V>i `S )i?:|V|/\| ZSAOUJOUV

 

MHOA MEN :]O lGlHJ.S|(] NHEH.LHOS :.LOIHJ.SIC| MHOA MEN :IO A.LNDOO
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